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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA

                              3:23-cv-02333-RV-ZCB




PRESIDENT DONALD J. TRUMP, 45th President of
the United States of America, in his individual
capacity,
                                Plaintiff,
            v.

SIMON & SCHUSTER, INC., a New York
corporation, ROBERT WOODWARD p.k.a. BOB
WOODWARD, an individual, and PARAMOUNT
GLOBAL, a Delaware corporation, f/k/a Viacom
Inc., successor by merger to CBS Corporation, a
Pennsylvania corporation f/k/a Westinghouse
Electric Corporation,
                                Defendants.


 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
     OR, IN THE ALTERNATIVE, TO TRANSFER FOR IMPROPER VENUE AND
                  INCORPORATED MEMORANDUM OF LAW

      Plaintiff, President Donald J. Trump, 45th President of the United States of

America, in his individual capacity (“Plaintiff” or “President Trump”), respectfully

submits this response in opposition to the Motion to Dismiss, or in the alternative,

to Transfer for Improper Venue (“Motion”) and the corresponding Memorandum

of Law (“Defendants’ Mem.”) [D.E. 37, 37-1] filed by the Defendants, Simon &


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Schuster, Inc. (“SSI”); Robert Woodward (“Woodward”); and Paramount Global

(“Defendants”) in this matter, and requests that this Court deny the Motion for the

reasons set forth below. In further support of this response in opposition, the

Plaintiff hereby incorporates the facts pled in its Amended Complaint and further

submits the declaration of his attorney, Robert Garson (“Garson Declaration”). 1




1
    See Exhibit 1 filed in conjunction with Plaintiff’s responses in opposition.

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                                   ARGUMENT

 I.    THIS ACTION HAS BEEN PROPERLY FILED IN ACCORDANCE WITH 28 U.S.C.
       § 1400.

   A. Copyright Infringement or Action for Declaratory Judgment.

       During the pendency of this lawsuit, it became clear that, notwithstanding

the Defendants’ argument about the lack of copyrightability of the Interviews and

the subject works, Mr. Woodward has asserted his copyright over the entirety of

the works as follows: “©2022 Bob Woodward.” See Garson Declaration at ¶¶ 11,

12. As a result of Mr. Woodward’s assertion of complete copyright to the works,

this lawsuit functions not only as an action for declaratory relief under the

Copyright Act but also as an action for copyright infringement given the conflicting

copyright claims which have arisen.

       Concomitantly with the filing of this action, President Trump applied for

registration of the copyright to the Interviews and the published works. Following

communications with the Copyright Office, the Copyright Office recognized it is

prepared to grant copyright protection to President Trump as a joint author of the




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Work. See Garson Declaration at ¶¶ 16-17. President Trump is now pending receipt

of the copyright registration certificate reflecting President Trump as joint owner. 1

       Only upon consideration of the Copyright Office’s acknowledgment of

President Trump’s copyrights can this Court determine whether this is an action for

declaratory judgment or an action for copyright infringement, or both. The Court is

not precluded from treating this an action for copyright infringement, since

Woodward and SSI are claiming copyright to the exclusion of President Trump. 3

Nimmer on Copyright § 12.01 (2022) (“Because the federal courts have exclusive

jurisdiction to determine statutory infringement, they also have incidental power

to hear and decide claims of title that necessarily bear upon the ultimate question

of infringement.”) In any event, whether this is deemed an action for declaratory

judgment, or an action for copyright infringement, venue is proper in this district.

    B. 28 U.S.C. § 1400(a) is the controlling venue statute.

       28 U.S.C. § 1400(a) governs venue for “civil acts, suits, or proceedings arising

under any Act of Congress relating to copyrights.” Actions falling into these

categories “may be instituted in the district in which the defendant or his agent

resides or may be found.” 28 U.S.C. § 1400(a). The provision does not refer, nor is


1
 The Copyright Office would not consider an individual ownership status without
submission of the original recording which has been withheld from the Plaintiff. See
Garson Declaration at ¶¶ 14-15.

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expressly limited, to proceedings involving infringement; this contrasts with

subsection (b), which sets forth the venue for “[a]ny civil action for patent

infringement.” Compare 28 U.S.C. § 1400(a) with 28 U.S.C. § 1400(b).

      President Trump’s claims do not pertain to patents. They are not framed as

a declaratory judgment action for copyright infringement; and do not seek a

declaration of non-infringement or copyright invalidity. In of itself, this fact

undermines the force of the Defendants’ cited authorities. One of these

authorities, Database Am. v. Bellsouth Adver. & Publ’g Corp., 825 F. Supp. 1216,

1223 n.13 (D.N.J. 1993) provides that “[v]enue in a declaratory judgment action for

patent or copyright infringement is governed by the general venue statute at 28

U.S.C. § 1391(b), rather than by the specific venue statute for infringement actions

at 28 U.S.C. § 1400(b).” This statement evinces a difference between a declaratory

judgment action for copyright infringement, as opposed to an action for copyright

infringements. Another, Third Party Verification v. Signaturelink, 2006 U.S. Dist.

Lexis 103553 (M.D. Fla. 2006), is premised on a plaintiff’s action for declaratory

relief as to the defendant’s copyright claims. In analyzing venue, that court

acknowledged that it

      also considered the applicability of 28 U.S.C. § 1400(a) to the instant
      action. Generally § 1400(a) determines venue for civil cases relating to
      copyrights. However case law in other circuits suggests venue for a


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      declaratory judgment action involving copyright invalidity is
      governed by the general venue statute, 28 U.S.C. § 1391. Dakotah, Inc.
      v. Tomelleri, 1998 DSD 33, 21 F. Supp. 2d 1066, 1073 (D.S.D. 1998); see
      also Emerson Electric Co. v. Black and Decker Mfg. Co., 606 F.2d 234,
      238 (8th Cir. 1979) (holding venue for declaratory judgment action
      involving patent invalidity and noninfringement is governed by § 1391
      and not§ 1400(b)).

(emphasis added). The instant lawsuit asserts declaratory relief, but “it is not a

declaratory judgment action involving copyright invalidity.” See id. In any event,

Third Party Verification cannot be dispositive because its foundation is Emerson

Elec. Co. v. Black & Decker Mfg. Co., 606 F.2d 234, 238-39 (8th Cir. 1979), which is

not helpful whatsoever in resolving the central question since Emerson deals

exclusively with patents: “[v[enue in a declaratory judgment action for patent

invalidity and noninfringement is governed by the general venue statute, 28 U.S.C.

§ 1391(b) and (c), not the patent infringement venue statute, 28 U.S.C. § 1400(b).

Id. at 238-39. Third Party Verification’s other foundation is Dakotah, Inc. v.

Tomelleri, 1998 DSD 33, 21 F. Supp. 2d 1066, 1073 (D.C. S.D. 1998), but that, too is

problematic. First, Dakotah states that “[v]enue in a declaratory judgment action

for copyright invalidity and noninfringement is governed by the general venue

statute” (none of which applies to this litigation), and second, because the source

of this statement is Emerson (which, as set forth above, is immaterial).




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      Put simply, the Defendants’ authorities predominantly rely either upon

patents, which are governed by a different subsection than copyrights, or are

premised on a cause of action for declaratory judgment of infringement, non-

infringement, or invalidity. None of these describes the lawsuit brought by

President Trump. This lawsuit may be construed as an action for declaratory relief

as to copyright ownership, and as an action for copyright infringement; however,

one way or the other, Section 1400(a) governs their deposition for purposes of

venue.

      Indeed, case law is replete with references to the fact that 28 U.S.C. 1400(a)

includes, but is not limited to, copyright infringement scenarios. As set forth in Nu

Image, Inc. v. Doe, 799 F. Supp.2d 34, 43 (D.D.C 2011), Section 1400(a) is “[t]he

copyright venue statute,” and is “the controlling venue statute in copyright cases.”2

“[Congress] has decided that copyright actions may be brought in the district where

the defendant resides or may be found. 28 U.S.C. § 1400(a).” Time, Inc. v. Manning,

366 F.2d 690, 697 (5th Cir. 1966). See Maldonado v. BMG Rights Mgmt., LLC, 2022

U.S. Dist. LEXIS 237380, *3 (N.D. Fla. 2022) (describing 28 U.S.C. § 1400(a) as “the

specific venue statute for copyright claims.”); Sygall v. Pitsicalis, 2018 U.S. Dist.


2
  That Nu Image is a copyright infringement case is irrelevant. See Defendants’
Memorandum at p. 12. The case delves into an analysis of Section 1400(a) that, on
its face, is not limited to matters of copyright infringement.

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LEXIS 194562, *4-5 (N.Y.S.D. 2018) (a specific venue statue, § 1400, governs

copyright actions.”).

   C. Defendants “may be found” in the Northern District of Florida.

(i) Standard

      It is well-settled” that a defendant “may be found” in any judicial district

where the defendant is subject to personal jurisdiction. See, e.g., Palmer v. Braun,

376 F.3d 1254, 1259 (11th Cir. 2004).

      The personal jurisdiction analysis consists of a two-step inquiry: (i)

determination whether the exercise of jurisdiction is appropriate under the long-

arm statute and (ii) determination that the defendant has minimum contacts with

the forum state and that the exercise of jurisdiction over the defendant does not

offend 'traditional notions of fair play and substantial justice.'" Horizon Aggressive

Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1166 (11th Cir. 2005) (quoting

Int'l Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S. Ct. 154, 158, 90 L. Ed. 95

(1945)).

      Florida’s Long-Arm statute provides for specific jurisdiction as follows:

             (1) Any person, whether or not a citizen or resident of this state,
      who personally or through an agent does any of the acts enumerated
      in this subsection thereby submits himself or herself . . . to the
      jurisdiction of the courts of this state for any cause of action arising
      from the doing of any of the following acts:


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              (a) Operating, conducting, engaging in, or carrying on a business
       or business venture in this state or having an office or agency in this
       state.
              (b) Committing a tortious act within this state.


Id.; Fla. Stat. § 48.193. Further, Florida’s long-arm statute provides for general

jurisdiction where “[a] defendant . . . is engaged in substantial and not isolated

activity within [Florida]. Id. As set forth below, this Court has personal jurisdiction

over each of the Defendants.

SSI

       SSI has consented to personal jurisdiction in this State and in this District, as

it is a corporation that transacts business within this District through, among other

things, its acquisition of content from and provision of publishing services to

authors. SSI acquires publishing rights from authors and provide publishing

services, including editing, marketing, sales, and distribution of books, throughout

the United States. SSI admits that it is a major global force with a pervasive broad

reach.”3 See Am. Compl. at ¶ 11-12.




3
                               https://about.simonandschuster.biz/corporate-
overview/#:~:text=Simon%20%26%20Schuster%20has%20publishing%20and,pres
ence%20in%20every%20major%20market;
https://www.simonandschuster.biz/p/social-impact

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      That SSI sells and distributes its publications, including the works at issue in

this action, via its employees and agents in Florida and throughout the United

States, including this District, and conducts business in this district, is plainly

evident in the limited documentation that the Defendants provided to the Plaintiff

reflecting distribution and sales activity in Florida, including the Northern District.

See Exhibit E to the Garson Declaration. Given the extent of its contacts with this

state, as evidenced by Exhibit E reflecting sales throughout America, including but

not limited to Florida, there are in place sufficient minimum contacts with the state

of Florida, and there is no affront to any traditional notions of fair play and

substantial justice.

Paramount

      As set forth in the Complaint, see Am. Compl. at p. 4, Paramount has

consented to personal jurisdiction in this District, as it transacts business within the

District generally and through its wholly-owned division, SSI. Additionally,

Paramount’s assets include SSI, and Paramount exerts direct control over the

executive leadership of SSI. See Form 10Q attached as Exhibit D to the Garson

Declaration. By SSI’s own admission, it “enjoys a close relationship with parent

company Paramount.” Moreover, during the time period that significant and

relevant events occurred, Paramount was actively seeking to sell SSI to Penguin


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Random House and had heightened oversight of SSI’s operations and financials. See

Am. Compl. at p. ¶18. Paramount has not contested any of these allegations in any

filings with this Court. The exercise of jurisdiction over Paramount, as an extension

of SSI, here would cause no affront to any traditional notions of fair play and

substantial justice.

Woodward

      Woodward is a global force, unlike SSI (and Paramount). See ECF No. 37-1;

Woodward Declaration at 37-1. See Am. Compl. at ¶¶13-16. Among other things,

Woodward is credited as the author of the publications underlying this action, and

has in fact asserted his copyright over the works and collaborated with SSI (and

Paramount) regarding the presentation, distribution, and sales of the subject

works. See id. As reflected in his declaration and the Amended Complaint,

Woodward regularly authors articles and books which SSI, inter alia, frequently

publishes on a global scale. To publicize and sell more copies of such works,

Woodward often appears on nationally and internationally televised programs. See

id. See Amended Complaint regarding confirming he has gained “international

attention,” is “legendary,” speaks across the United States, and engages with the

general public via his Masterclass lessons. See ECF No. 37-1; Woodward Declaration

at 37-1. See Am. Compl. at ¶¶13-16. All the foregoing is undisputed, and the


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Woodward Declaration [D.E. 37-1] does not convey any denial of all the foregoing

allegations but instead stands by his reach across America. The mere fact that

Woodward has a close association with Washington D.C. does not automatically

immunize him from jurisdiction in the State of Florida. This renders jurisdiction over

Woodward appropriate and not violative of any traditional notions of fair play and

substantial justice.

   D. Assuming, arguendo, that venue in this matter is governed by 28 U.S.C. §
      1391(b), as Defendants contend, Plaintiff’s chosen venue is nonetheless
      correct.

      Section 1391(b)(2) provides that a civil action may be brought in, in pertinent

part, “a judicial district in which a substantial part of the events or omissions giving

rise to the claim occurred, or a substantial part of property that is the subject of

the action is situated.” 28 U.S.C. §§ 1391(b)(1)-(3). The “transactional venue”

provision “contemplates some cases in which venue will be proper in two or more

districts.” See Lynch v. Bailey-Roka, 2023 U.S. Dist Lexis 65034 (S.D. Fla 2023);

Jenkins Brick Co. v. Bremer, 321 F.3d 1366, 1371 (11th Cir. 2003). “Only the events

that directly give rise to a claim are relevant.” Jenkins Brick Co., 321 F.3d at 1371.

      Notably, “a plaintiff is not required to select the venue with ‘the most

substantial nexus,’ so long as it chooses a venue where a substantial part of the

events causing the claim occurred.” Wyndham Vacation Ownership v. Square One


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Dev. Grp., 2020 U.S. Dist. LEXIS 149942, at *8 (M.D. Fla. 2020) (citing Nationwide

Relocation Servs., Inc. v. Walker, No. 2008 U.S. Dist. LEXIS 131043, 2008 WL

11333712, at *3 (S.D. Fla. Feb. 29, 2008). See Harvard v. Inch, 408 F. Supp. 3d 1255,

1261 (N.D. Fla. 2019) (“Substantial part” does not mean venue is only proper where

most of the inciting events occurred.”)

      This action is tied to Florida, inclusive of this District, because of the

substantial distribution, dissemination, and sale of the subject works in this district,

which is evident by the documentation the Defendants have produced pre-

discovery. See Exhibit E to the Garson Declaration. The “substantial part” of the

events is not where the Interviews took place or where the Plaintiff was located, or

where any agreement between the parties was reached–nor where purported

“editing, recording and publicizing of the Work was performed.” See Defendants’

Mem. at pp. 3-4. Rather, the key, substantial part of the events giving rise to this

lawsuit is the sale of the subject works; that is the gravamen. The Defendants’

limited discovery provided to the Plaintiff during this litigation, Exhibit E (which

shall be filed under seal), confirms substantial sales occurred in Florida, and that

the various versions of the subject work were sold in Florida by the hundreds. All

other events upon which the Defendant relies to try to disconnect the Northern

District of Florida from the Plaintiff’s claims are, at best, “largely tangential,” and


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for that reason, unavailing. See Gonzalez v. Hernandez, No. 4:20-cv-286-MW/MJF,

2021 U.S. Dist. LEXIS 151011, at *11 (N.D. Fla. 2021).

   E. State law claims

   As already set forth in the Complaint, to the extent the Court finds it does not

have subject matter jurisdiction over any state law claim pursuant to the above,

this Court has supplemental or pendent jurisdiction over any such remaining claims

pursuant to 28 U.S.C. § 1367 because such claims are so closely related to President

Trump’s claims under the Copyright Act and under the Declaratory Judgment Act,

28 U.S.C. § 2201 and §2202, that they form part of the same case or controversy.

See Bahrampour v. Lampert, 356 F.3d 969, 978 (9th Cir. 2004).

II. Court’s discretion to transfer, rather than dismiss, in the event of improper
venue.

      Assuming, arguendo, this Court determines the Northern District of Florida

is not the proper venue for litigation of the Plaintiff’s claims, dismissal is not the

answer. If the selected venue is deemed improper, the district court “shall dismiss,

or if it be in the interest of justice, transfer such case to any district or division in

which it could have been brought.” 28 U.S.C. §1406(A). Transfer is favored “when

procedural obstacles ‘impede an expeditious and orderly adjudication . . . on the

merits.’” Gonzalez, 2021 U.S. Dist. LEXIS 151011, at *11 (citing Sinclair v.



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Kleindienst, 711 F.2d 291, 293-94, 229 U.S. App. D.C. 13 (D.C.C. 1983). “Generally,

the interests of justice require transferring a case to the appropriate judicial district

rather than dismissing it.” Gonzalez, 2021 U.S. Dist. LEXIS 151011, at *11. Taking

into consideration the totality of the circumstances of this case, in the interest of

justice, this matter should be, at most, transferred, not dismissed, to a Florida

district in which this matter could have been brought.

III. Defendants’ request to transfer this matter for convenience of the parties
should be denied.

   A. Defendants’ burden under 28 U.S.C. §1404(a).

      The factors considered under 28 U.S.C. 1404(a), which are set forth in

Defendants’     memorandum        and    hereby    incorporated,     see   Defendants’

Memorandum, D.E. 37, at p. 17, confirms Defendants’ transfer argument is

unavailing. [I]n the usual motion for transfer under section 1404(a), the burden is

on the movant to establish that the suggested forum is more convenient. In re Ricoh

Corp., 870 F.2d 570, 573 (11th Cir. 1989); see also J.I. Kislak Mortg. Corp. v. Conn.

Bank & Tr. Co., N.A., 604 F. Supp. 346, 347 (S.D. Fla. 1985).

      “Absent a clear cut and convincing showing by a defendant that the balance

of convenience weighs strongly in favor of a transferree court, a plaintiff’s choice

of forum will not be set aside.” General State Authority for benefit of Crompton-



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Richmond Co., etc. v. Aetna Casualty & Surety Co., 314 F. Supp. 422, 423 (N.Y.S.D

1970). “The burden is on the defendant, when it is the moving party, to establish

that there should be a change of forum. Unless the balance strongly favors the

defendant, the plaintiff's choice of forum will rarely be disturbed. J.I. Kislak Mortg.

Corp., 604 F. Supp. at 347.

   B. Defendants have failed to carry their burden under 28 U.S.C. 1404(a).

      As a preliminary matter, “mere conclusory assertions”, “a few factual

assertions,” and “generalized statements” do not “satisfy the requirement of

proving by a clear showing that the balance of conveniences favor the granting of

defendant’s request” under 28 USC 1404(a). See J.I. Kislak Mortg. Corp., 604 F.

Supp. at 348. The Defendants’ motion is plagued by all three. Further, the factors

militate in favor of President Trump.

(i) Convenience of the witnesses.

This is the most important factor under the statute. Trans AM Worldwide, LLC v. Jp

Superior Sols., LLC, 2018 U.S. Dist. LEXIS 226020, *17-18 (N.D. Fla. 2018). And yet,

the Defendants offer no support for this element.

      “[I]f the party moving for transfer under § 1404(a) merely makes a
      general allegation that witnesses will be necessary, without identifying
      those necessary witnesses and indicating what their testimony at trial
      will be, the motion for transfer based on convenience of witnesses will


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      be denied. 15 Wright, Miller & Cooper, Federal Practice And Procedure
      § 3851, l.c. 271 (1976).

Am. Standard, Inc. v. Bendix Corp., 487 F. Supp. 254, 262 (W.D. Mo. 1980); J.I. Kislak

Mortg. Corp., 604 F. Supp. at 347 (citing Am Standard). See also Motorola Mobility,

Inc. v. Microsoft Corp, 804 F. Supp 2d 1271, 1278 (S.D. Fla. 2011) (“Neither party

has identified any particular witness who will be unavailable to testify in the

respective Districts. Accordingly, this factor does not weigh in favor of, or against,

transfer.”).

      Here, the sole evidence submitted by the Defendants is the Woodward

Declaration, see D.E. 37-1, who only identifies individuals with whom Woodward

has interacted and who have purportedly participated in the publication process.

There is no allegation about the necessity of any witnesses; no identification of who

the witnesses will be; and no indication of what their testimony will be.

(ii)Location of relevant documents and relative ease of access to sources of proof.

      This element does not weigh in favor of transfer. Although “[t]he location of

records and documents is also a factor that should be considered in determining

the proper forum in a motion for transfer under § 1404(a), . . . because usually

many records, or copies thereof, are easily transported, their location is not

entitled to great weight. This is particularly true with the development of



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photocopying.” See Am. Standard, Inc., 487 F. Supp. at 264 (citations omitted); J.I.

Kislak Mortg. Corp., 604 F. Supp. at 347; see also Atl. Recording Corp. v. Project

Playlist, Inc., 603 F. Supp. 2d 690, 697 (S.D.N.Y. 2009). If photocopying were of

relevance, so too is scanning. The materials that are the subject of this lawsuit can

be scanned, are most likely all digital or already on a computer, can be emailed,

placed into a cloud-based system or even if physical, can easily be transported

anywhere in the United States. In any event, there is no evidence from the

Defendants about the location, difficulty of transportation, or importance of books

and records.

(iii) Convenience of the parties.

The Defendants offers no evidentiary support for this element.

(iv) Locus of operative facts.

This fact requires the court to look at the site of the events from which the claim

arises. Harvard, 408 F. Supp. 3d at 1262. Florida is that site, as set forth above.

(v) Availability of process to compel attendance of unwilling witnesses.

The Defendants offers no evidentiary support for this element.

(vi) Relative means of parties.




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The parties to this action are all well-equipped to fund the instant litigation, given

the fact that SSI is one of the largest publishing houses in the world. This factor is

neutral, and does not support transfer. See Freeplay Music, LLC v. Gibson Brands,

Inc., 195 F. Supp. 3d 613, 620 (N.Y.S.D. 2016).

(vii) Forum’s familiarity with governing law.

      This is one of the least important factors. Harvard, 408 F. Supp. 3d at 1264-

65. This Court’s understanding of and familiarity with the Copyright Act and its

nuances is indisputable. See, e.g. Home Design Servs. v. Westerheim Props., 2013

U.S. Dist. LEXIS 193513, *9; White v. Overgroup Consulting LLC, 2015 U.S. Dist. LEXIS

179536, *6; Phoenix Entm't Partners, LLC v. Gulfcoast Spirits, LLC, 2019 U.S. Dist.

LEXIS 228674, *7. See Freeplay Music, LLC, 195 F. Supp. 3d at 620 (“Moreover, since

federal copyright laws are a subject with which both this district and the Proposed

Transferee Districts are familiar, this factor weights against transfer.”)

      As to the state claims, all courts are familiar with the causes of action of

breach of contract, promissory estoppel, and unjust enrichment. Further, federal

courts commonly apply state substantive law, which may not be the law of the state

in which the federal court sits. See Kwik Goal, Ltd. v. Youth Sports Publ'g Inc., 2006

U.S. Dist. LEXIS 34460, *12-13. Defendants cite to Michel v. NYP Holdings, Inc., 816




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F. 3d 686 (11th Cir. 2016) to support their call for transfer, but Michel has nothing

to do with transfer, only the selection of substantive law.

(viii) Trial efficiency and interests of justice, based on totality of circumstances.

Defendants offer no analysis on this point.

Conclusion as to Transfer of Venue.

Based upon the foregoing, none of the factors weighs in favor of transfer.

   IV.      Conclusion

         For the foregoing reasons, the Motion should be denied. To the extent this

Court is inclined to transfer this litigation, transfer to New York or Washington D.C.

would not be appropriate.

Dated: June 30, 2023
Aventura, Florida



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                             CERTIFICATE OF SERVICE

I hereby certify that on June 30, 2023, I filed the foregoing Response, which will

send an electronic notice to counsel of record per the service list below.


                                                    /s/ Robert Garson


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                       CERTIFICATION OF WORD COUNT

I hereby certify that this Response in Opposition complies with Rule 7.1(F) of the

Local Rules for the Northern District of Florida and this Court’s order granting

permission to file an oversized document, not to exceed 4,000 words. Dkt. 22.

According to the word-processing system used to prepare this Response in

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                                     By: /s/ Robert Garson




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